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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


POTTSGROVE SCHOOL DISTRICT,                       :
              Plaintiff,                          :           CIVIL ACTION
                                                  :
                v.                                :
                                                  :
D.H., et al.,                                     :           No. 17-2658
                       Defendants.                :

                                        MEMORANDUM

PRATTER, J.                                                                    SEPTEMBER 10, 2018

                                          INTRODUCTION

         D.H., a student diagnosed with autism, attended an elementary school in the Pottsgrove

School District from kindergarten to second grade. During that time, D.H. maintained grade

level performance in academics but failed to make progress as a result of severe behavioral

issues, including toileting accidents and violent outbursts requiring physical restraints.

         Through his mother, D.H. sued the school district pursuant to the Individuals with

Disabilities Education Act, arguing that the school district’s behavioral plan deprived him of a

free appropriate public education. After a hearing, an educational hearing officer agreed with

D.H. and his mother. The school district filed a complaint here appealing that hearing officer’s

conclusion. D.H. filed a counterclaim seeking relief related to the hearing officer’s monetary

award.

         The school district filed a motion to dismiss the counterclaim and a motion for judgment

on the administrative record. For the reasons that follow, (i) the school district’s motion for

judgment on the administrative record is granted in part and denied in part, (ii) the school




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district’s motion to dismiss the counterclaim is deemed moot, and (iii) the case is remanded to

the hearing officer for proceedings consistent with this Memorandum.

                                          BACKGROUND

       D.H. is an elementary school student with autism living with his mother, N.H., in

Pottstown, Pennsylvania. He is eligible for special education services under the categories of

emotional disturbance and speech/language impairment. He is prone to emotional outbursts that

sometimes include violent behavior like throwing furniture and pulling hair. In addition, D.H.

struggles with toileting issues.

       From kindergarten to second grade, D.H. attended a public school in the Pottsgrove

School District. During this time, D.H.’s academic achievement was at or above grade level.

       His behavior, on the other hand, suffered. During his three years at the Pottsgrove

school, school personnel physically restrained D.H. over 25 times, including one incident in

which personnel called the police. In addition, D.H. had at least 43 toileting accidents. This

section summarizes D.H.’s performance from pre-kindergarten through second grade and

highlights his education team’s periodic responses to his behavior. 1

       But first, a word on recurring jargon or terms of art in this Memorandum.

       •   “IEP” stands for individualized education plan, the plan that a school district must

           establish (and revise as needed) for a student with disabilities.

       •   The “IEP team” is the group of stakeholders — including school staff and the

           student’s family members — that fashions the IEP.

       •   “FBA” stands for functional behavior assessment, one source of data that the IEP

           team may (and sometimes must) consider in crafting an IEP.

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       A more detailed account of D.H.’s performance in school, and his support team’s
periodic meetings, is available in the Appendix at the end this Memorandum.
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           •   A “BCBA” is a board certified behavior analyst, a kind of behavior specialist whose

               appropriate role in the education of a student like D.H. is disputed by the parties in

               this case.

           •   A student’s IEP is meant to provide a “FAPE,” or free appropriate public education,

               which is the holy grail of the Individuals with Disabilities Education Act. Whether

               D.H. was denied a FAPE is the central question in this case.

  I.       D.H.’s Pre-Kindergarten (Early 2013)

           In the spring of 2013, to prepare for his transition to kindergarten, D.H. underwent a

“transition evaluation.” The transition evaluation was partially based on a behavior analysis

from the staff at D.H.’s preschool, not from a behavior specialist or BCBA. Hearing Officer

Decision (HOD) at 4, ¶ 11. The goals for D.H. set out in the evaluation fall into four categories:

    •      Speech/language. D.H.’s goals included formulating questions, developing a personal

           narrative, and retelling stories.

    •      Physical therapy.       D.H.’s goals included writing his name and improving his

           independent dressing and feeding.

       •   Occupational therapy. D.H.’s goals included improving core and leg strength.

    •      Behavioral. D.H.’s goals included toileting, vocal self-expression, and interactions with

           peers. Examples of his problem behavior included throwing furniture, punching and

           kicking staff, scratching and pulling hair, and screaming.

See HOD at 3, ¶¶ 5–10.

           Armed with the transition evaluation, the IEP team met to craft an IEP for D.H. See

HOD at 4, ¶¶ 14–20. Although the IEP included a behavior plan, it did not directly address

toileting issues. The closest that the IEP came to a toileting plan was a “specifically designed


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instruction” requiring “shaping” — that is, rewarding good behavior — “for aversive tasks such

as toileting.” HOD at 4, ¶ 16.

    II.   D.H.’s Kindergarten (2013-2014)

          In kindergarten, the three education plans that school officials designed for D.H. did not

include a clearly defined plan for toileting.      And the crux of the plans — that under no

circumstances should D.H. escape unwanted tasks — was ignored. Instead, it appears that D.H.

learned that by acting out, he could avoid various tasks and receive special attention.

          In October 2013, the IEP team met to revise the education plan. See HOD at 5, ¶¶ 22–26.

Neither a behavior specialist nor a BCBA participated. This absence is notable because the IEP

team added the use of physical restraints to the IEP as a last resort when D.H. was a danger to

himself or others. 2

          In March 2014, the IEP team met to make slight revisions to the education plan. See

HOD at 6, ¶¶ 32–37.

          A month later, the IEP team again met to revise the education plan. See HOD at 7. An

eight-step “crisis plan” was added to address D.H.’s outbursts. A toileting goal of no accidents

for four weeks was added, with no mention of how the goal would be reached. D.H. was re-

designated for the most intensive “full-time autistic support,” meaning that he now would spend

five hours per day with a personal care assistant. Finally, D.H. was deemed eligible for summer

school for 2014.




2
       In the context of the IDEA, “restraint” refers to “[t]he application of physical force, with
or without the use of any device, for the purpose of restraining the free movement” of a student’s
body.” 22 Pa. Code § 14.133(b). “[B]riefly holding” a student “to calm or comfort him,”
“guiding” a student to an appropriate activity, and holding hands do not qualify as restraints. Id.
Prone restraints — in which a student “is held face down on the floor” — are prohibited in
educational settings. Id. § 14.133(c)(3).
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           From January to June 2014, D.H. had at least 18 toileting accidents, was physically

restrained six times, and was picked up early from school 15 times. HOD at 5, ¶¶ 29–30.

III.       D.H.’s First Grade (2014-2015)

           The IEP from April of D.H.’s kindergarten year, summarized immediately above, carried

over into first grade. The IEP team was not reconvened until April of that year. During the first

seven months of first grade, D.H. had the following behavioral incidents:

       •   Restraints: seated restraints were used 10 times.

       •   Toileting: D.H. had 13 toileting accidents.

       •   Early Pick-Up: Behavioral issues necessitated early departure from school roughly once

           each week.

See HOD at 8, ¶¶ 52–58. At times, D.H.’s personal care assistant responded to his bad behavior

with redirection, in contravention of the extant behavior plan. For example, the personal care

assistant called autistic support specialists when D.H. acted out — thereby encouraging him to

act out by providing access to his preferred staff members.

           Even so, no changes were made to D.H.’s education plan until April of first grade. When

the IEP team met in April 2015, it deemed D.H. ineligible for summer school for 2015. HOD at

10, ¶ 71.

           Overall, D.H. had at least 16 toileting accidents and was restrained at least 11 times in

first grade. He reportedly made no progress in his communication skills or task completion.

IV.        D.H.’s Second Grade (2015-2016)

           In second grade, the violent outbursts, toileting accidents, and restraints continued. The

education team met in October, November, December, and March to address D.H.’s issues.

           In September of second grade, D.H. was restrained multiple times on three separate days,

see HOD at 10, ¶¶ 72–75, leading the IEP team to hold an informal meeting in early October.
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       Because D.H.’s problem behaviors persisted after the informal meeting, a formal IEP

meeting was convened in November. See HOD at 12, ¶¶ 91–99. The IEP team revised the

behavior plan to respond to elopement, which occurs when children with autism sometimes

wander off. The plan provided a response to elopement, not a strategy to prevent elopement.

       In December 2015, the IEP team met twice to revise the education plan. See HOD at 13,

¶¶ 102–09. The team revised the “crisis” portion of the behavior plan. Staff members were

instructed not to talk to D.H. when he was not behaving, and they changed procedures for

notifying D.H.’s parent during a crisis.

       Also in December 2015, D.H.’s mother asked for a formal reevaluation of D.H.’s status

in order to facilitate a possible transfer to a program outside the school district. The reevaluation

included a functional behavior assessment — D.H.’s first since before kindergarten. This was

the only FBA conducted by a BCBA. In February 2016, the report was finalized:

   •   Academics. The report found that D.H. was on grade level in math and reading, with

       average writing skills. He was academically “on track” for second grade.

   •   Behavior. The FBA concluded that D.H.’s negative behavior was to gain adult attention

       and avoid unwanted tasks. The assessment posited that the school district’s behavior plan

       had been backfiring by encouraging D.H.’s bad behavior.             In addition, the BCBA

       concluded that D.H.’s teachers were providing him with no positive reinforcement or

       verbal praise.

   •   Toileting. The report found that toileting skills were one of D.H.’s three critical needs.

       The others were emotional control and improving problem solving.

See HOD at 14–15, ¶¶ 120–25.




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       In light of the reevaluation report, the IEP team convened in March and April 2016 to

revise the IEP. See HOD at 15–16, ¶¶ 127–29. The IEP team added antecedent strategies — that

is, strategies to address behavior that precedes problem behavior. In addition, the team revised

the plan to include positive consequences for replacement behavior (that is, good behavior that

D.H. exhibits to replace unwanted behavior).

       D.H. continued to exhibit problem behaviors, and, in April 2016, the school district

recommended that D.H. transfer to an approved private school (APS). D.H. began attending the

APS on May 9, 2016. He attended extended school year there during the summer of 2016 and

remains there today. His IEP team now regularly consults with a board certified behavior

analyst, and reportedly D.H. has experienced noted behavior improvement, including in toileting.

See HOD at 16, ¶¶ 130–36.

                         PROCEEDINGS BEFORE THE HEARING OFFICER

       In August 2016, D.H.’s mother N.H. brought a complaint against the Pottsgrove School

District. See Am. Due Process Compl., Doc. No. 14-3. According to the requirements of the

IDEA, a hearing officer, Dr. Linda M. Valentini, presided over a special education due process

hearing on November 18 and December 13, 2016. At that hearing, N.H. argued that the school

district failed to provide a free and appropriate public education for D.H.’s first and second grade

years from 2014 to 2016. His kindergarten year was outside the applicable statute of limitations

and, hence, was not at issue.

       In March 2017, the hearing officer ruled in favor of N.H., concluding that the school

district had indeed denied D.H. a free and appropriate public education during his entire time at

the Pottsgrove school.    See HOD at 20.       Although the hearing officer explained that her

conclusion rested on two overarching factors, as the Court analyzes the issues, a thorough



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analysis of the hearing officer’s decision warrants rearranging the many grounds supporting the

officer’s conclusion into a more accessible outline. Accordingly, the three subsections that

follow (1) summarize the hearing officer’s two “factors” ostensibly leading to her decision, (2)

recast her reasoning into a somewhat more nuanced outline, and (3) explain the hearing officer’s

conclusion as to the remedy afforded to D.H.

  I.   The Two “Factors” Supporting the Hearing Officer’s Conclusion

       The hearing officer rested her conclusion on two broad factors:

           1) The absence of important “voices” during IEP meetings. The IEP

              meetings often lacked participation from any behavior specialist and

              other supposedly essential IEP team members.

           2) Inadequate behavior plans in D.H.’s IEPs. Rather than proactive and

              preventative plans correctly implemented, D.H. was subject to a series

              of reactive plans that were poorly implemented.

       For the hearing officer, these two factors contributed to an environment that thwarted

D.H. from receiving a FAPE. See HOD at 24–26.

 II.   The Court’s Understanding of the Hearing Officer’s Decision

       Examining the evidence cited by the hearing officer to support her decision, the Court

considers it worthwhile to reorganize the inputs the officer considered. Essentially, the hearing

officer identified three major flaws in the educational programming that D.H. received: (A) flaws

in plan formulation, (B) flaws in plan content, and (C) flaws in plan implementation.

   A. Plan Formulation

       By “plan formulation,” the Court means the process by which the IEP team decided on an

educational plan for D.H. The hearing officer appears to have identified three main flaws in the



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formulation process: (1) attendance at IEP meetings, (2) data collected and considered at

meetings, and (3) in one instance, the failure to call a meeting in the first place.

          1. Attendance at IEP Meetings. — The hearing officer repeatedly noted that certain

educational professionals failed to attend several IEP meetings. With a more consistent “seat at

the table,” each of these professionals supposedly could have offered viewpoints that, the hearing

officer seems to have believed, would have kept D.H.’s IEP on the right track.

          BCBA. No BCBA or other behavior specialist attended the May 2, 2013 IEP meeting in

D.H.’s pre-kindergarten period. See HOD at 20. None attended the April 16, 2014 IEP meeting

during D.H.’s kindergarten year, even though changes were made to D.H.’s behavior plan. See

id. None attended the April 7, 2015 IEP meeting during D.H.’s first grade experience. See id. at

21. And none attended the October 2, 2015 informal meeting during second grade, even though

the meeting was called because of D.H.’s aggressive behavior and the staff’s use of restraints.

See id.

          Regular Classroom Education Teacher. D.H.’s regular education teacher did not attend

the October 16, 2013 IEP meeting in the kindergarten term, even though D.H. had been in the

regular classroom environment. HOD at 20. The regular education teacher did not attend the

April 7, 2015 IEP meeting during first grade even though the education plan was revised to place

D.H. in itinerant autistic support — that is, in the regular classroom environment. Id. at 21. And

the regular education teacher did not attend the December 14, 2015 IEP meeting during second

grade, even though D.H. had been in the regular classroom environment. Id.

          Supplemental therapists. The speech/language therapist did not attend the October 16,

2013 IEP meeting in kindergarten, even though D.H. had a documented speech/language

impairment. HOD at 20. The speech/language therapist, occupational therapist, and physical



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therapist were all absent from the March 5, 2014 IEP meeting in kindergarten.          Id.   The

speech/language therapist did not attend the April 7, 2015 IEP meeting in first grade, even

though speech/language therapy was discontinued at the meeting. Id. at 21. Finally, neither the

occupational therapist nor the physical therapist were present at the December 22, 2015 IEP

meeting during D.H’s second grade year, even though several of D.H.’s behavioral incidents

occurred during those therapies. Id.

       2. Lack of Information at IEP Meetings. — The hearing officer repeatedly expressed

that the IEP team could have gathered more information in anticipation of an IEP meeting. In

her estimation, incomplete data on D.H.’s behavior led to inadequate educational planning at the

IEP meetings.

       Lack of FBA.      The functional behavioral assessment in pre-kindergarten was not

conducted by a BCBA. HOD at 20. No FBA was conducted while D.H. was in kindergarten or

first grade. Id. at 20–21. When an FBA was conducted in February of D.H.’s second grade year,

its findings persuaded the IEP team to revise the behavior plan in nearly every area. According

to the hearing officer, the dramatic effect of the second-grade FBA demonstrates how valuable

an FBA would have been in kindergarten or first grade. Id. at 22–23.

       Lack of Interactions between D.H. and a BCBA. The March 5, 2014 IEP in kindergarten

did not provide for ongoing consultation with a BCBA. HOD at 20. No BCBA met with D.H. in

first grade. Id. at 21. At the end of second grade, once D.H. moved to his new school and had

regular interaction with a BCBA, his educational team could finally use data collected by a

BCBA to calibrate an appropriate behavior plan. D.H.’s behavior improved substantially. Id. at

22–23. Because no BCBA interacted with D.H. for several years at the Pottsgrove school, the




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hearing officer concluded that the IEP team was deprived of the valuable insights that a BCBA

could have offered.

          Lack of Behavior Data. Short of direct observation by a BCBA, it appears the school

could have had other staff collect data, which a BCBA then could have analyzed before making

recommendations to the IEP team. Indeed, one staff member was in a position to gather data: the

personal care assistant, a one-on-one aide who spent five hours per day with D.H. for much of

his time as a Pottsgrove student. HOD at 22.

          3. Failure to Call an IEP Meeting Sooner in First Grade. — Despite 11 occasions for

resorting to restraints and 16 toileting accidents during D.H.’s first-grade year, no IEP meeting

was held until April. HOD at 21. The hearing officer concluded that this failure to call a

meeting is a process failure of its own — a failure to formulate an IEP revision in the first place.

   B. Plan Content

          The second major flaw in D.H.’s educational programming was the content of the

educational plans themselves. In the hearing officer’s telling, poorly crafted IEPs deprived D.H.

of a FAPE. Four errors in the realm of plan content loom largest:

          1. Incomplete Toileting Plans. — The hearing officer faulted the pre-kindergarten IEP

of May 3, 2013 and the kindergarten IEP of April 16, 2014 for failing to include a goal or

behavior plan for toileting. See HOD at 22. As mentioned above, the closest that these IEPs

came to a toileting plan was a “specifically designed instruction” requiring “shaping” — that is,

rewarding good behavior — “for aversive tasks such as toileting.” HOD at 4, ¶ 16 (emphasis

added).

          2. Reactive Plans. — The hearing officer faulted the school district’s plans for reactively

bouncing from crisis to crisis, rather than proactively “supporting” D.H.             The behavior

component of the October 16, 2013 IEP in kindergarten included only procedures for when D.H.
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acted out, not prevention strategies. HOD at 22. Notably, when D.H. was in second grade, the

November 6, 2015 IEP was revised to respond to cases of elopement, not to prevent them in the

first place. Id. at 22–23. More reactive steps were added in December 2015. See id. (noting that

the plan specified when D.H.’s mother would be called during a crisis). The FBA, taken in

February of D.H.’s second-grade year, revealed that these reactive strategies backfired because

they taught D.H. that he would receive attention for acting out. Id.

       3. Insufficient Revisions in First Grade. — The parties dispute whether D.H. was on an

upward trajectory in first grade. The hearing officer found that he was not and that, therefore,

the trivial revision to the behavior plan made at the IEP meeting on April 7, 2015 — namely, the

elimination of a single reinforcement item — was the wrong approach to the content of the plan.

HOD at 22.

       4. Lack of Interactions between D.H. and a BCBA. — The March 5, 2014 IEP in

kindergarten did not provide for ongoing consultation with a BCBA. HOD at 20. No BCBA

met with D.H. in first grade. Id. at 21. At the end of second grade, D.H. moved to his new

school and had regular interaction with a BCBA.          Id. at 22–23.   His behavior improved

substantially. Id. The hearing officer interpreted these events by concluding that, because

interactions with a BCBA led to improvements in D.H.’s behavior, the IEP team’s prior failure to

provide for such interactions was unwise. Id.

   C. Plan Implementation

       The hearing officer noted several ways in which the IEPs were poorly implemented. This

flaw is distinct from any error in the plans’ formulation or content; even the most thorough IEP,

crafted according to the most rigorous process, may be carried out in an inadequate manner. For

instance, school staff did not follow the February 2014 behavior plan when they restrained D.H.

twice on March 7, 2014. HOD at 22. During a behavior incident on a school bus in second
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grade, a bus aide was not trained in D.H.’s behavior plan. Id. at 22–23. Also in second grade,

during particularly problematic behavior on January 28, 2016, school staff encouraged D.H. to

use words — a strategy contrary to his behavior plan that caused D.H. to become aggressive. Id.

III.   The Hearing Officer’s Two-Part Order on Remedy

       In terms of remedies, first, the hearing officer ordered that a BCBA attend all of D.H.’s

future IEP meetings. HOD at 27.

       Second, she ordered that the school district pay for compensatory education to D.H. She

reasoned that it was too hard to determine how many hours of extra education would be needed

make D.H. “whole” — that is, to put him in the position he would have been in without the

denial of FAPE. So she opted for the “hour-for-hour” approach to compensatory education,

awarding one hour of compensatory education for every hour she determined that FAPE was

denied. HOD at 19.

       Accordingly, the hearing officer needed to arrive at a specific number of hours to award.

Because D.H.’s behavioral progress was impeded but his academic progress was “on track,” the

hearing officer apparently equated these two broad categories and determined to split the

difference, awarding a half-day — four hours — of compensatory education for each day of first

and second grade. Although she found that FAPE was also denied in kindergarten, that year was

outside the statute of limitations, and so was not part of her calculations. In addition, she

awarded hours for the entire time that D.H. should have been in ESY in the summer after first

grade. HOD at 26.

       As for the exact value of the hours awarded, the hearing officer stated only that the hours

should be valued at “the usual and customary rate charged by providers of educational,

developmental and therapeutic services” in the region. HOD at 27.



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                          PROCEDURAL HISTORY SINCE THE HEARING

       In June 2017, the school district appealed the hearing officer’s decision to this Court,

alleging multiple errors of fact and law. D.H. counterclaimed, asking for money damages for

each hour of compensatory education in the form of a third-party trust.

       The school district has filed a motion to dismiss the counterclaim and a motion for

judgment on the administrative record. The Court heard oral argument on February 20, 2018.

                                     STANDARD OF REVIEW

       In IDEA cases, courts must give “due weight” to administrative proceedings such as the

hearing officer’s factual findings here. See Bd. of Educ. v. Rowley, 458 U.S. 176, 206 (1982).

“Factual findings from the administrative proceedings are to be considered prima facie correct.”

S.H. v. State-Operated Sch. Dist. of Newark, 336 F.3d 260, 270 (3d Cir. 2003) (also calling this

standard “modified de novo”). Courts review conclusions of law de novo. S.H., 336 F.3d at 269.

                        HEARING OFFICER CONCLUSIONS ON LIABILITY

       “Disability is a natural part of the human experience.” 20 U.S.C. § 1400(c)(1). The

Individuals with Disabilities Education Act exists to “ensur[e] children with disabilities and the

families of such children access to a free appropriate public education.” Id. § 1400(c)(3).

       The term “free appropriate public education” encompasses both “special education and

related services” that must meet several requirements, including (i) satisfaction of state

educational standards, (ii) an “appropriate” elementary school education, and (iii) conformity

with the child’s “individualized education program.” Id. § 1401(9)(B)–(D); see also 34 C.F.R. §

300.17(b)–(d) (same requirements laid out in implementing regulation); Winkelman v. Parma

City Sch. Dist., 550 U.S. 516, 524–25 (2007) (summarizing the definition of FAPE).




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       “A FAPE is an education ‘specially designed to meet the unique needs of the

handicapped child, supported by such services as are necessary to permit the child to benefit

from the instruction.’” L.E. v. Ramsey Bd. of Educ., 435 F.3d 384, 390 (3d Cir. 2006) (quoting

Rowley, 458 U.S. at 188–89). “The education provided must be sufficient to confer some

educational benefit upon the handicapped child, although the state is not required to maximize

the potential of handicapped children.” Id. (quotations omitted).

       The individualized education plan is the key to ensuring that a child with disabilities

receives a FAPE. The IEP is the written plan of action for each child with a disability. 20

U.S.C. § 1414(d)(1)(A)(i); see also id. § 1401(14) (defining IEP). An IEP includes both “a

statement the child’s present levels of academic achievement and functional performance” and “a

statement of measurable annual goals, including academic and functional goals.”              Id. §

1414(d)(1)(A)(i)(I)–(II).

       The team that develops the IEP must take a holistic approach, considering parental

“concerns” and the child’s “strengths” and “academic, developmental, and functional needs.” 20

U.S.C. §§ 1414(d)(3)(A)(i), (ii), (iv). The focus is on the individual child. “The instruction

offered must be ‘specifically designed’ to meet a child’s ‘unique needs’ through an

‘[i]ndividualized education program.’” Endrew F. v. Douglas Cty. Sch. Dist., 137 S. Ct. 988,

999 (2017) (quoting 20 U.S.C. §§ 1401(29), (14)).         The goal of the plan escapes precise

definition: the IEP must be reasonably calculated to give a student with disabilities the chance to

receive a “meaningful educational benefit.” Ridgewood Bd. of Educ. v. N.E., 172 F.3d 238, 247

(3d Cir. 1999).

       When, as here, a court must evaluate an IEP after the fact, its inquiry is fact bound. “The

adequacy of a given IEP turns on the unique circumstances of the child for whom it was



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created.” Endrew F., 137 S. Ct. at 1001. “This absence of a bright-line rule, however, should

not be mistaken for ‘an invitation to the courts to substitute their own notions of sound

educational policy for those of the school authorities which they review.’” Id. (quoting Rowley,

458 U.S. at 206). Monday-morning quarterbacking is prohibited: to determine whether a child

has received a free and appropriate public education, the education plan must be evaluated at the

time it was issued. See Carlisle Area Sch. v. Scott P., 62 F.3d 520, 534 (3d Cir. 1995). “[S]o

long as the IEP responds to the [student’s] needs, its ultimate success or failure cannot

retroactively render it inappropriate.” Id.

        As explained in the summary of the hearing officer’s decision, above, the hearing officer

found that FAPE was denied because of flaws in (i) plan formulation, (ii) plan content, and (iii)

plan implementation. The school district does not appear to challenge the hearing officer’s

conclusions as to plan implementation. Thus, the Court addresses only the first two categories.

  I.    Plan Formulation

        As explained above, the hearing officer found three flaws in the process of IEP

formulation: (1) the absence of certain key staff members at various IEP meetings, (2) the lack of

involvement by a BCBA in an FBA or otherwise, and (3) the failure to convene an IEP meeting

sooner in D.H.’s first-grade year. The Court evaluates the legal validity of each claimed flaw in

turn.

    A. Attendance at IEP Meetings

        The hearing officer faulted the school district for failing to ensure attendance at D.H.’s

educational team meetings by (1) the regular education teacher and (2) certain other staff

members. For the reasons that follow, the Court concludes that only one absence by the regular

education teacher could properly count against the school district.



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       1. Regular Education Teacher. — The hearing officer found that the regular education

teacher was absent from three IEP meetings, on October 16, 2013, April 7, 2015, and December

14, 2015. HOD at 20–21. The regular education teacher must, “to the extent appropriate,

participate in the development of the IEP.” 20 U.S.C. § 1414(d)(3)(C). And when the team

convenes to “review and revis[e]” the IEP, the regular education teacher must participate. Id. §

1414(d)(4)(B).

       Here, it appears that two of the three “absences” are accounted for. The teacher did in

fact attend the IEP meeting in December 2015. And D.H.’s mother signed a release excusing the

teacher from attending the meeting in April 2015. See 20 U.S.C. § 1414(d)(1)(C)(ii) (allowing

such excused absences); 34 C.F.R. § 300.321(e)(2) (same); see also Questions and Answers on

Individualized Education Programs (IEPs), Evaluations, and Reevaluations, 47 IDELR 166, at

*13 (OSERS June 2010) (explaining that excused absences are “intended to provide additional

flexibility to parents in scheduling IEP Team meetings and to avoid delays in holding an IEP

Team meeting”); Assistance to States for the Education of Children With Disabilities and

Preschool Grants for Children With Disabilities, 71 Fed. Reg. 46540-01, 46673 (Aug. 14, 2006)

(same). Only the teacher’s absence from the October 2013 meeting appears to be unexcused. A

sole unexcused absence in three years diminishes — but does not fully extinguish — the force of

the hearing officer’s conclusion on this point.

       2. Other Staff Members. — The hearing officer faulted the school district for not having

a behavioral analyst, speech/language therapist, occupational therapist, or physical therapist at

several education plan meetings. But such participants are not required under the IDEA.

       The IEP team must include (i) the parents of the student, (ii) the regular education

teacher, (iii) the special education teacher, and (iv) a representative of the school district. See 20



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U.S.C. § 1414(d)(1)(B)(i)–(iv); 34 C.F.R. § 300.321(a)(1)–(4). In addition, “at the discretion of

the parent or the [school district],” the IEP team may include “other individuals who have

knowledge or special expertise regarding the child, including related services personnel as

appropriate.” 20 U.S.C. § 1414(d)(1)(B)(vi); 34 C.F.R. § 300.321(a)(6).

       The term “related services personnel” encompasses speech/language therapists,

occupational therapists, and physical therapists. See 20 U.S.C. § 1401(26)(A) (defining the term

“related services” to mean, in part, “speech-language pathology and audiology services” and

“physical and occupational therapy”). And a BCBA or behavioral analyst would arguably

qualify as an individual with “knowledge or special expertise regarding the child” under the

statutory definition of the IEP team.

       But it does not appear that either the parent or school district exercised their statutory

“discretion,” id. § 1414(d)(1)(B)(vi), to include these staff members in the IEP meetings in

question. The hearing officer made no finding to that effect. Therefore, the hearing officer erred

when she blamed the school district for not ensuring the attendance of these staff members.

       3. Conclusion. — The hearing officer erred by blaming the school district for (i) all but

one of the absences of the regular education teacher, and (ii) the absences of the behavioral

analyst, speech/language therapist, occupational therapist, and physical therapist. Because the

hearing officer’s ultimate conclusion rested on several factors, the Court will not determine these

errors alone warrant reversal.     On remand, however, the hearing officer should critically

reevaluate her conclusions in light of the Court’s instruction that only a single absence by the

regular education teacher may “count” against the school district.

   B. FBA Based on Direct Observation by a Behavior Specialist

       The school district argues that the hearing officer erred by requiring a board certified

behavioral analyst to conduct a functional behavior assessment through direct observation of
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D.H’s behavior. The Court agrees: the hearing officer’s mandate of a new FBA by a BCBA,

even though one had been conducted in pre-kindergarten, held the school district to a standard

decidedly more stringent than that required by the IDEA.

        1. An FBA is not always required. — The school district is correct that the IDEA does

not generally require any specific way to address a student’s behaviors. An FBA is not listed

among the statutory components of an IEP. See 20 U.S.C. § 1414(d)(1)(A)(i). What is more, the

listed components are followed by a “Rule of Construction,” explaining that “[n]othing in this

section shall be construed to require . . . that additional information be included in a child’s IEP

beyond what is explicitly required in this section.” Id. § 1414(d)(1)(A)(ii)(I) (emphasis added);

cf. Robert B. v. W. Chester Area Sch. Dist., No. CIV.A. 04-CV-2069, 2005 WL 2396968, at *7

(E.D. Pa. Sept. 27, 2005) (“The IDEA does not require that the District go beyond identifying

needs and goals related to behavior.”). In a section entitled “Development of IEP – Special

Factors,” the statute provides only that, “in the case of a child whose behavior impedes the

child’s learning or that of others,” the IEP team shall “consider the use of positive behavioral

interventions and supports, and other strategies, to address that behavior.” See 20 U.S.C. §

1414(d)(3)(B)(i); 34 C.F.R. § 300.324(a)(2)(i) (same). An FBA is an option, but it is not

inexorably a hard-and-fast requirement.

        2. The FBA taken in pre-kindergarten satisfied the requirement of an FBA here. — If

the IEP includes a positive behavior support plan, as D.H.’s did, then an FBA is required.

“Behavior support programs and plans must be based on a functional assessment of behavior . . .

.” 22 Pa. Code § 14.133(a); see also id. § 14.133(b) (“A positive behavior support plan shall be

developed by the IEP team, be based on a functional behavior assessment, and become part of

the . . . student’s IEP.”); id. § 711.46 (same).



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       Here, D.H.’s first IEP, crafted during his pre-kindergarten experience, relied on the

“transition evaluation” that itself was based on an FBA.           That pre-kindergarten FBA

hypothesized that D.H.’s misbehavior was “a means to avoid non-preferred tasks and continue

with preferred tasks” and “gain adult attention.” Compl. ¶ 30. The hearing officer erred by

failing to acknowledge the pre-kindergarten FBA. See HOD at 4, ¶ 11 (stating that no FBA was

conducted).

       D.H. advances three arguments for why the pre-kindergarten FBA was inadequate. None

has merit.

       First, D.H. argues that the pre-kindergarten FBA was inadequate because D.H. soon

moved to a new, unfamiliar kindergarten environment.           Of course, it might have been

subjectively preferable to revisit D.H.’s FBA in his new environment.         But pedagogically

preferred or wise is not the same as statutorily required. And the notion that another FBA would

have revealed new information is undercut by the fact that the pre-kindergarten FBA hypothesis

— that D.H. misbehaves to avoid certain tasks and gain adult attention — was nearly identical to

the FBA eventually taken in second grade. Compare Compl. ¶ 30 (pre-kindergarten hypothesis),

with HOD at 14–15, ¶¶ 120–25 (second grade FBA).

       Second, D.H. argues — and the hearing officer agreed — that only an FBA conducted by

a BCBA or other behavioral expert would be adequate. Because the pre-kindergarten FBA was

not conducted by a BCBA, the argument goes, it contributed to the denial of FAPE.

       But there is no preconceived requirement that only certain persons can conduct an FBA.

“There is no . . . requirement . . . that a Board Certified Behavioral Analyst (BCBA) conduct the

FBA.” See Letter from Tracy R. Justesen, Assistant Secretary, Office of Special Education and

Rehabilitative Services, U.S. Dep’t of Education, to Ylise Janssen, Office of the General



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Counsel, Austin Independent School District, 51 IDELR 253 (OSERS June 5, 2008). There is no

firm requirement about who performs an FBA because “IEP teams need to be able to address the

various situational, environmental and behavioral circumstances raised in individual cases.” See

Assistance to States for the Education of Children With Disabilities and the Early Intervention

Program for Infants and Toddlers With Disabilities, 64 Fed. Reg. 12406-01, 12620 (Mar. 12,

1999). To be sure, BCBAs may well be “uniquely situated as valuable members of educational

teams.” See Pennsylvania Department of Education, Board Certified Behavior Analysts and

Public Education: Rationale and Guidelines, Doc. No. 16, Ex. E, at 2. Valuable though BCBAs

are, however, there is no legal requirement that they conduct FBAs.

       Third, D.H. argues that the pre-kindergarten FBA was inadequate because it was not

based on direct observation. Likewise, the hearing officer required an FBA be conducted based

on direct observation.

       There is no statutory support for a requirement of direct observation. The only support

offered by D.H., namely, a Pennsylvania Department of Education circular, was issued after the

events in question.      See Pennsylvania Department of Education, Functional Behavioral

Assessment Process (May 2016), Doc. No. 16, Ex. F, at 2 (“Information also should be gathered

by collecting data through direct observation of the behavior across settings and times.”). The

circular in place at the time at issue did not include any such rigid requirement: “There is no one

way to complete an FBA; rather the goal of this process is to develop a testable hypothesis.” See

Doc. No. 17, Ex. A, at 2.

       3. An additional FBA was not required in this case. — At least three other specific

factual circumstances can trigger a process that concludes with an FBA. None apply to this case.




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        First, when restraints are used on a student, the student’s IEP team must meet to

“consider whether the student . . . needs a functional behavioral assessment.” 22 Pa. Code §

14.133(c)(1). After restraints were used in this case, however, it appears that D.H.’s mother

N.H. “agree[d] in writing to waive the meeting.” Id. In any event, this provision requires only

that the team consider an FBA, not that one necessarily be conducted.

        Second, the Pennsylvania Department of Education recently explained that “[a]n FBA

must be conducted” whenever the IEP team “determines that a student’s behavior is interfering

with his/her learning or the learning of others.”        Pennsylvania Department of Education,

Functional Behavioral Assessment Process 3 (May 2016), Doc. No. 16, Ex. F. Although D.H.’s

behavior presumably often interfered with the learning environment, this DOE instruction was

issued after the events at the Pottsgrove school. Mindful that “[r]etroactivity is not favored in the

law,” Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208 (1988), the Court declines to apply

the DOE instruction now. See generally Cass R. Sunstein & Adrian Vermeule, The Morality of

Administrative Law, 131 HARV. L. REV. 1924, 1944 (2018) (expanding upon and critiquing this

retroactivity principle).

        Third, if a school decides to “change the placement of a child with a disability because of

a violation of a code of student conduct,” then the IEP team must make several determinations

about the child’s behavior, including whether “conduct in question was caused by, or had a direct

and substantial relationship to, the child’s disability.” 34 C.F.R. § 300.530(e)(1)(i). If so, then

the IEP team must either:

                (i) Conduct a functional behavioral assessment, unless the [local
                educational agency] had conducted a functional behavioral
                assessment before the behavior that resulted in the change of
                placement occurred, and implement a behavioral intervention plan
                for the child; or



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                  (ii) If a behavioral intervention plan already has been developed,
                  review the behavioral intervention plan, and modify it, as
                  necessary, to address the behavior.

Id. § 300.530(f)(1) (emphasis added). Thus, an FBA is only one of two options, and even then,

only if one had not already been conducted. In short, this provision did not mandate a new FBA

in D.H.’s case.

        4. Conclusion. — The hearing officer erred by (i) failing to acknowledge the FBA

performed during pre-kindergarten and (ii) requiring an FBA based on direct observation by a

BCBA.     During oral argument in this case, the parties flatly disagreed on whether these

erroneous conclusions were necessary to the hearing officer’s ultimate conclusion. Because the

hearing officer’s decision rested on several interlocking factors, the Court cannot necessarily

conclude which factors were necessary to her ultimate conclusion. On remand, the hearing

officer should reevaluate her conclusions in light of (i) the pre-kindergarten FBA and (ii) the

Court’s instruction that a subsequent FBA by a BCBA was not required by law.

   C. Admissibility of Report by D.H.’s Behavioral Expert

        During the hearing, the hearing officer admitted the report of N.H.’s behavioral expert

Veronika Sweeny. That ruling arguably bears on the formulation of D.H.’s IEP because the

expert report suggested that school district personnel did not have adequate expertise in

behavioral issues, arguably then tainting the process of crafting an IEP. The school district

advances three arguments challenging the decision to admit the Sweeny report. The Court

concludes that only the third argument has merit but, in any event, that the decision to admit the

expert report was inconsequential.

        First, the Federal Rules of Evidence do not apply in educational due process hearings.

Therefore, the school district’s arguments based on Daubert v. Merrell Dow Pharmaceuticals,

509 U.S. 579 (1993), miss the mark.
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       Second, the school district argues that the expert report was offered into evidence too

late. Ms. Sweeny originally sought to testify without a report, but the school district objected on

November 18, 2016, the first day of the due process hearing. Because the school district insisted

on a written report, Ms. Sweeny produced one on December 6, 2016, a week in advance of the

second day of testimony on December 13. At the December 13 hearing, the hearing officer

overruled the school district’s objection to the admissibility of the report.

       Now, the school district argues that the report should have been excluded because it was

not disclosed five days before the first day of the hearing, in violation of the IDEA’s five-day

rule. “A party may prohibit the introduction of evidence at the hearing that has not been

disclosed to that party at least 5-business days before the hearing.” 22 Pa. Code § 14.162(k); see

also 34 C.F.R. § 300.512(a)(3) (“Any party to a hearing . . . has the right to . . . [p]rohibit the

introduction of any evidence at the hearing that has not been disclosed to that party at least five

business days before the hearing.”). Based on the unequivocal wording of the rule, the school

district’s objection should have been enough to exclude the written report from evidence.

       Evidentiary rules that vest discretion in the hearing officer do not apply to evidence like

the expert report in this case. “A hearing officer may bar” — in other words, a hearing officer

has the discretion to admit — certain evidence that violates the five-day rule. See 20 U.S.C. §

1415(f)(2)(B) (emphasis added).         But this discretion applies only to “evaluations” and

“recommendations,” not to the written report at issue here. See id. § 1415(f)(2)(A); see also 34

C.F.R. § 300.512(b)(1)–(2) (same).

       Although the hearing officer lacked any statutory or otherwise authorized discretion to

admit the report, she arguably retained equitable discretion to admit it. To begin, a written

expert report is not required in educational due process hearings. D.H. and N.H. only provided



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one in response to the school district’s request. What is more, the five-day rule exists to

eliminate the element of surprise. The school district cannot claim to be surprised by a report

that it specifically insisted on having. Timeliness, then, in this case, is no bar to the expert

report’s admissibility.

       Third, the school district challenges the expert report on the merits. Ms. Sweeny did

little independent research in drafting the report. She did not interview the special education

teachers, the district’s BCBA, the school principal, the speech/language therapist, D.H.’s home-

based team, D.H.’s mother or grandparents, or even D.H. himself. In fact, she appears to have

reviewed only information that was already in the record.

       But precisely because the expert report was based only on information already in the

record, this argument seems to be much ado about nothing. Any sources available to Ms.

Sweeny were also already available to Hearing Officer Valentini; the report is therefore

dispensable. Furthermore, the school district has not explained how the report, once admitted

into evidence, affected the hearing officer’s ultimate conclusion. Thus, even if the hearing

officer erred in admitting the report, any error may be disregarded as inconsequential.

   D. The Hearing Officer’s Conclusions about D.H.’s Progress in First Grade

       The school district argues that D.H.’s first-grade year was not as bad as the hearing

officer portrayed it. As a result, argues the district, the hearing officer erred by faulting the

district for failing to convene an IEP meeting until April of that year.

       The Court agrees that any assertion that first grade followed one constant trajectory

oversimplifies the matter. But the hearing officer correctly identified the ups and downs of that

year, carefully detailing D.H.’s performance. See HOD at 8–9, ¶¶ 52–69.

       During the first seven months of first grade, D.H. had the following behavioral incidents:

   •   Restraints: seated restraints were used 10 times.
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   •     Toileting: D.H. had 13 toileting accidents.

   •     Early Pick-Up: Behavioral issues necessitated early departure from school roughly once

         per week.

See HOD at 8, ¶¶ 52–58. Even after the IEP meeting in April 2015, D.H. was subject to a seated

restraint and had three toileting accidents. See HOD at 9, ¶¶ 60–69.

         What is more, the hearing officer found that the school district’s formal records from first

grade were incomplete. See HOD at 7–8, ¶¶ 51–52. For example, the school restrained D.H. 11

times in the first half of first grade, but only one of those was formally reported. Without

consistent data, the Court will not second-guess the hearing officer’s factual findings about first

grade.

         First grade was also the second of three straight years in which D.H. apparently made no

progress in toileting or in communicating his feelings. Cf. Endrew F., 137 S. Ct. at 996 (no free

and appropriate education when the education plan “largely carried over the same basic goals

and objectives from one year to the next, indicating that [the student] was failing to make

meaningful progress toward his aims.”).

         Basically, the school district’s dispute about D.H.’s performance in first grade is a fight

over factual issues. Given the parties’ conflicting interpretations of the facts, and in light of the

Court’s obligation to assign “due weight” to the hearing officers factual findings, see Rowley,

458 U.S. at 206, the Court does not take up the school district’s challenge to the hearing officer’s

factual assessment of first grade.

         Moving from factual assessment to legal conclusion, then, the Court affirms the hearing

officer’s assessment of the IEP meeting in first grade. Under the IDEA, the school district had

an obligation to “ensure that . . . the IEP Team . . . revise[d] the IEP as appropriate to address . . .


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any lack of expected progress toward the annual goals in the general education curriculum.” See

20 U.S.C. § 1414(d)(4)(A)(ii)(I). As a matter of plan formulation, the district did not meet this

obligation when it failed to call an IEP meeting until April of first grade. 3

    II.   Plan Content

          “Crafting an appropriate program of education requires a prospective judgment by school

officials.” Endrew F., 137 S. Ct. at 999. “Any review of an IEP must appreciate that the

question is whether the IEP is reasonable, not whether the court regards it as ideal.” Id. As

explained in the summary of the hearing officer’s decision, above, two of the claimed flaws in

D.H.’s IEPs were the inadequate toileting plan and the reactive, crisis-oriented nature of the

overall behavior plan. The Court affirms the hearing officer’s conclusions as to these two flaws

in D.H.’s education plans and notes two other deficiencies: D.H.’s ineligibility for ESY after first

grade and the persistent use of physical restraints.

      A. Toileting Plan

          The school district challenges the hearing officer’s conclusion that the IEP lacked an

adequate toileting component. The IEP must include “a statement of measurable annual goals”

designed to “meet the child’s needs that result from the child’s disability.”         20 U.S.C. §

1414(d)(1)(A)(i)(II).

          In this case, the IEP included a “specifically designed instruction” requiring staff to

reward good behavior around “aversive tasks such as toileting.” HOD at 4, ¶ 16. In April of

D.H.’s kindergarten year, a goal of no toileting accidents for four weeks was added, but with no




3
        The Court’s conclusion about D.H.’s performance in first grade bears on the hearing
officer’s evaluation of plan content as well. As a matter of IEP content, the revisions made by
the IEP team in April 2015 were inadequate.


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mention of how the goal would be reached. The Court concludes that these statements do not

constitute an adequate toileting plan. 4

       Indeed, D.H.’s persistent toileting issues confirm that whatever “plan” the district had in

place was inadequate. Cf. Endrew F., 137 S. Ct. at 996 (noting that, when a student’s IEPs

“carr[y] over the same basic goals and objectives from one year to the next,” the student has

“fail[ed] to make meaningful progress toward his aims”); Brandywine Heights Area Sch. Dist. v.

B.M., 248 F. Supp. 3d 618, 631–32 (E.D. Pa. 2017) (attributing a school district “inability to

reduce [a student’s] behaviors to a manageable level” to the fact that the district “allowed those

behaviors to get out of hand from the start”).

    B. Reactive, Crisis-Oriented Strategies in the Behavior Plan

       As explained above, the hearing officer found that the school district reactively went

from crisis to crisis instead of proactively supporting D.H. A positive behavior support plan

must “include methods that utilize positive reinforcement and other positive techniques to shape

a student’s . . . behavior, ranging from the use of positive verbal statements as a reward for good

behavior to specific tangible rewards.” 22 Pa. Code § 14.133(b) (emphasis added).

       The school district argues that the hearing officer gave short shrift to the positive (and

preventative) support afforded to D.H.       To be sure, the district offered some preventative

support. See, e.g., HOD at 9 (the “star” chart). Nevertheless, the Court agrees with the hearing

officer’s conclusion that whatever preventative tools the district employed were overwhelmed by

the plethora of reactive and crisis-oriented strategies in the IEP. See HOD at 22–23.




4
        The Court is reminded of the proverb, sometimes attributed to Antoine de Saint Exupery,
and lately popularized by Coach Herm Edwards, that “a goal without a plan is a wish.”
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   C. Eligibility for Extended School Year after First Grade

       The school district argues that the hearing officer was wrong to fault the IEP team for

removing ESY eligibility from D.H.’s education plan in first grade and for awarding

compensatory education for the summer months on that basis. In the district’s telling, D.H. was

doing so well in first grade that the education team reasonably concluded that summer school

was not needed.

       The IDEA requires education teams to consider an “extended school year” for students

with special needs. See 34 C.F.R. § 300.106. “Extended school year services must be provided

only if a child’s IEP team determines, on an individual basis . . . that the services are necessary

for the provision of FAPE to the child.” Id. § 300.106(a)(2). ESY services “are only necessary

to a FAPE when the benefits a disabled child gains during a regular school year will be

significantly jeopardized if he is not provided with an educational program during the summer

months.” Coleman v. Pottstown Sch. Dist., 983 F. Supp. 2d 543, 566 (E.D. Pa. 2013) (quoting

M.M. v. Sch. Dist. of Greenville Cty., 303 F.3d 523, 537–38 (4th Cir. 2002)). “The type of

jeopardy necessary to require ESY services is not merely a risk of regression, as this is a risk that

is experienced by all students. Instead, ESY services are only required to assure a FAPE where

such regression will substantially thwart the goal of ‘meaningful progress.’” Id. (quoting M.M.,

303 F.3d at 538).

       Pennsylvania provides seven factors for educators to consider in “determining whether a

student with disabilities requires ESY”:

          i.   Regression: Whether the student will revert to a lower level of functioning as a

               result of an interruption in educational programming;

         ii.   Recoupment: Whether the student can recover the skills in which regression

               occurred;
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        iii.   Maintenance: Whether the student’s difficulties with regression and recoupment

               make it unlikely that the student will maintain the skills relevant to his goals;

        iv.    Mastery: The extent to which the student has mastered a skill at the point when

               educational programming would be interrupted;

         v.    Self-Sufficiency: The extent to which a skill is crucial for the student to meet his

               goals of self-sufficiency;

        vi.    Withdrawal: The extent to which interruptions in educational programming

               result in a student’s withdrawal from the learning process; and

        vii.   Disability: Whether the student has a severe disability such as autism.

See 22 Pa. Code § 14.132(a)(2).

       In this case, the hearing officer appropriately considered the seven factors. D.H. has

autism. He had regressed in the past — at the beginning of first grade, and over the holiday

break during first grade. He made no progress on communication skills or on toileting during

first grade. Because the record supports the hearing officer’s conclusion that D.H. did not make

great improvement in first grade, as discussed elsewhere in this Memorandum, the Court

concludes that the hearing officer was also correct that the school district should have found

D.H. eligible for extended school year.

   D. Use of Physical Restraints

       The persistent use of physical restraints over three years suggests that whatever “plan”

the district had in place was inadequate. “The use of restraints is considered a measure of last

resort, only to be used after other less restrictive measures, including de-escalation techniques.”

22 Pa. Code § 14.133(a); see also id. § 711.46(a) (same). “Restraints to control acute or episodic

aggressive or self-injurious behavior may be used only when the student is acting in a manner as

to be a clear and present danger to himself, to other students or to employees.” Id. § 14.133(c);
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see also Damian J. v. Sch. Dist. of Phila., No. 06-cv-3866, 2008 WL 191176, at *5 (E.D. Pa. Jan.

22, 2008) (same). The “unreasonable use of restraints” is prohibited. 22 Pa. Code § 14.133(a).

       Even accepting the school district’s argument that its use of restraints was always

reasonable, the persistent use of such a measure is a red flag. A tool meant as a “last resort”,

deployed dozens of times over three years, is strong evidence that the behavior plan was not

working.

       The Court is mindful that the use of restraints does not always mean that an IEP has

failed. See CJN v. Minneapolis Pub. Schs., 323 F.3d 630, 639 (8th Cir. 2003) (“We of course

very much regret that CJN was subject to an increased amount of restraint in his third-grade year,

but that fact alone does not make his education inappropriate within the meaning of the IDEA.”).

Nevertheless, the persistent use of physical restraints over three years confirms that whatever

“plan” the district had in place was inadequate. Cf. Endrew F., 137 S. Ct. at 996 (noting that,

when a student’s IEPs “carr[y] over the same basic goals and objectives from one year to the

next,” the student has “fail[ed] to make meaningful progress toward his aims”); Brandywine

Heights, 248 F. Supp. 3d at 631–32 (attributing a school district “inability to reduce [a student’s]

behaviors to a manageable level” to the fact that the district “allowed those behaviors to get out

of hand from the start”).

                        HEARING OFFICER’S CONCLUSIONS ON REMEDY

       In her decision, the hearing officer ordered a two-part remedy. First, she ordered that the

school district pay compensatory education to D.H. Second, she ordered that a BCBA attend all

of D.H.’s future IEP meetings. For the reasons that follow, the Court will remand to the hearing

officer with instructions to modify both parts of her order as to a remedy.




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  I.   Compensatory Education

       The hearing officer awarded D.H. four hours of compensatory education for each day of

first and second grade, plus full days for ESY in the summer after first grade.

       The concept is that compensatory education “restore[s] the child to the educational path

he or she would have traveled but for the deprivation” of FAPE. G.L. v. Ligonier Valley Sch.

Dist. Auth., 802 F.3d 601, 608, 625 (3d Cir. 2015). Under the hour-for-hour approach applied in

this case, the student is “entitled to compensatory education for a period equal to the period of

deprivation, excluding only the time reasonably required for the school district to rectify the

problem.” D.K. v. Abington Sch. Dist., 696 F.3d 233, 249 (3d Cir. 2012) (quoting M.C. v. Cent.

Reg’l Sch. Dist., 81 F.3d 389, 391–92 (3d Cir. 1996)). Compensatory education is an equitable

remedy that requires a court to consider all factors. Id.

       The school district argues (1) that the award of four hours per day was too rough an

estimate and (2) that the hearing officer failed to give the school a rectification period to adjust to

D.H.’s behavior. The Court agrees with the first argument but rejects the second.

       First, the district argues that the hearing officer erred by awarding compensatory

education for days when D.H. was fully in class without any incidents. The blanket award of

four hours per day, day in and day out, in other words, was too rough an estimate.

       The Court agrees. For instance, for the month of May 2015, the hearing officer found

that D.H. had a toileting accident on May 4 and was subject to a seated restraint on May 24. Yet,

under the blanket award of four hours per day, D.H. is entitled to 78 hours for the month.

       To be sure, courts are often necessarily indulgent of rough hourly estimates. See, e.g.,

G.D. v. Wissahickon Sch. Dist., 832 F. Supp. 2d 455, 468 (E.D. Pa. 2011); Damian J., 2008 WL

191176, at *7 n.16. Furthermore, the Court recognizes that only two incidents were recorded in

May 2015; others may have gone unrecorded. Finally, the Court is mindful that an emotional
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meltdown at the end of the school day could wipe out the entire day’s progress. Cf. Tyler W. v.

Upper Perkiomen Sch. Dist., 963 F. Supp. 2d 427, 439 (E.D. Pa. 2013) (“Where a student makes

little to no academic progress, it indicates that the District’s failure to address his needs pervaded

and undermined his entire school day.”). Indeed, in seemingly uneventful days after a toileting

accident, D.H. may have been too embarrassed around his peers to focus on learning.

          Even accounting for these considerations, however, the May 2015 award — and others

like it — is too far out of step and without documented reference. On remand, if the hearing

officer still concludes that FAPE was denied, she should reevaluate the hourly award, paying

closer attention to monthly, weekly, and daily variations in D.H.’s performance.

          Second, the school district argues that the hearing officer failed to give the school a

rectification period to adjust to D.H.’s behavior. The ultimate hourly award should be the total

time that FAPE was denied minus “the time reasonably required for the school district to rectify

the problem.” D.K., 696 F.3d at 249 (quoting M.C., 81 F.3d at 391–92).

          Here, the school district’s objection overlooks that the school had all of D.H.’s

kindergarten year to rectify the behavioral plan. See HOD at 26. And the rectification clock did

not restart in first grade. As explained above, the Court agrees with the hearing officer that

D.H.’s first grade year was not as rosy as the school district portrays it. Cf. Brandywine Heights,

248 F. Supp. 3d at 629 (“[T]he District had ample notice of the types of disruptive behaviors that

[the student] had been known to engage in and ample time to put in place a proper plan to

address them, but ultimately failed to craft an IEP that was responsive to those concerns. This is

not a case where the District needed time to react to a previously-unforeseen deficiency in an

IEP.”).




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    II.   Mandatory Attendance by BCBA at Future IEP Meetings

          In addition to compensatory education, the hearing officer ordered that a BCBA attend

every future IEP meeting for D.H. The school district argues that this order was an abuse of

discretion.

          The Court agrees with the hearing officer that D.H.’s serious behavioral problems very

likely warrant the skills of a BCBA. But, as an equitable matter, the Court sees no compelling

reason to require a BCBA to attend D.H.’s IEP meetings in perpetuity. Exercising its equitable

powers to fashion a remedy under the IDEA, the Court orders that a BCBA attend D.H.’s IEP

meetings only until the end of calendar year 2019, or such earlier time as all parties may agree

upon. 5

                                      SUMMARY OF REMAND

          In sum, the case is remanded to the hearing officer for proceedings consistent with this

Memorandum. On remand, the hearing officer should focus on three areas:

          1. Denial of FAPE. — The hearing officer’s conclusion that FAPE was denied rested on

several interlocking factors. In this Memorandum, the Court upheld the validity of some factors

and dismissed others. On remand, the hearing officer should reevaluate her conclusion that

FAPE was denied in light of the Court’s conclusions, including the Court’s instructions that (i)

only one absence by the regular education teacher could properly count against the school

district, (ii) the effect of the pre-kindergarten FBA must be considered, and (iii) a subsequent
5
        After the school district brought this case to overturn the hearing officer’s decision, D.H.
filed a counterclaim asking the Court to resolve three issues: (1) the hourly rate for D.H.’s
compensatory education, (2) whether the compensatory education award should be placed in a
third-party trust rather than be administered directly by the school district, and (3) attorney’s fees
under 20 U.S.C. § 1415(i)(3)(B). The school district has filed a motion to dismiss the
counterclaim.
        Because the Court is remanding the case to the hearing officer for further deliberations,
the motion to dismiss is deemed moot. On remand, the hearing officer may consider the relief
sought in the counterclaim.
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FBA by a BCBA was not required by law. Cf. Reid v. D.C., 401 F.3d 516, 526 (D.C. Cir. 2005);

Braden O. v. W. Chester Area Sch. Dist., No. CV 16-0071, 2017 WL 2869397, at *7 (E.D. Pa.

July 5, 2017).

         2. Hours of Compensatory Education. — If the hearing officer again concludes that

FAPE was denied, then she should reevaluate the hourly award, paying closer attention to

monthly, weekly, and daily variations in D.H.’s performance and any documentation of the

shortcomings at issue. Cf. Stanton v. District of Columbia, 680 F. Supp. 2d 201, 203 (D.D.C.

2010).

         3. Issues Raised in Counterclaim. — If the hearing officer again concludes that FAPE

was denied, and after reevaluating the hourly award, the hearing officer should consider the relief

sought in D.H. and N.H.’s counterclaim, including whether monetary relief should be awarded in

the form of a third-party trust and the provable dollar value of each hour of compensatory

education. Cf. I.K. v. Sch. Dist. of Haverford Twp., 961 F. Supp. 2d 674, 682 (E.D. Pa. 2013);

Blake C. v. Dep’t of Educ., No. 06-cv-335, 2007 WL 1240211, at *2 (D. Haw. Apr. 26, 2007).

                                          CONCLUSION

         For the foregoing reasons, (i) the school district’s motion for judgment on the

administrative record is granted in part and denied in part, (ii) the school district’s motion to

dismiss is deemed moot, and (iii) the case is remanded to the hearing officer for proceedings

consistent with this Memorandum. An appropriate order follows.

                                                     BY THE COURT:


                                                     S/Gene E.K. Pratter
                                                     GENE E.K. PRATTER
                                                     UNITED STATES DISTRICT JUDGE




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                                 APPENDIX – IEP MEETINGS


  I.   Pre-Kindergarten (early 2013)

       IEP Meeting on May 2, 2013 – Hearing Officer Decision (HOD) at 4, ¶¶ 14–20
School Year       •   Pre-Kindergarten
Notable           •   No BCBA or other behavior specialist attended.
Attendance
Inputs            •   Transition evaluation conducted at the end of pre-kindergarten. See HOD
Considered            at 3, ¶¶ 5–10.
                  •   The transition evaluation was partially based on a behavior analysis from
                      D.H.’s preschool staff, not from a behavior specialist or BCBA. HOD at
                      4, ¶ 11.
Findings          •   The transition evaluation concluded that D.H. was autistic with
                      speech/language impairment.
Pertinent Plan    •   Regular sessions for speech/language therapy, physical therapy, and
                      occupational therapy.
                  •   Behavior: Behavior plan existed but did not address toileting.
                  •   Toileting: The closest that this IEP came to a toileting plan was a
                      “specifically designed instruction” requiring “shaping” — that is,
                      rewarding good behavior — “for aversive tasks such as toileting.” HOD
                      at 4, ¶ 16.
Level of         •    Itinerant Autistic Support. D.H. was in the regular school setting except
Autistic Support      for his periodic therapy sessions.
                 •    This is the lowest of three levels of support. The others are “supplemental
                      autistic support” and “full-time autistic support.”
Incidents after   •   The hearing officer did not note any behavior incidents in early
Meeting               kindergarten.




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                                 APPENDIX – IEP MEETINGS


 II.   Kindergarten (2013-2014)

         IEP Meeting on October 16, 2013 – Hearing Officer Decision at 5, ¶¶ 22–26
School Year       •   Kindergarten
Notable           •   D.H.’s regular classroom teacher did not attend.
Attendance        •   D.H.’s speech/language therapist did not attend.
                  •   Neither a behavior specialist nor a BCBA attended. This is particularly
                      important because, as noted below, the IEP team added the use of physical
                      restraints to this version of the IEP.
Pertinent Plan    •   Physical therapy: Adaptive physical education was added to the IEP.
Revisions         •   Behavior: The use of physical restraints was added as a last resort when
                      D.H. was a danger to himself or others.
Level of         •    Unchanged. Still itinerant autistic support.
Autistic Support
Incidents after   •   Toileting: 18 accidents. HOD at 5, ¶ 29.
Meeting –         •   Restraints: 6 uses. HOD at 5, ¶ 30. Seated restraints were used on
January 14 to         February 21 and March 5, 2014.
June 2, 2014      •   Early Pick-Ups: Family members were called to pick D.H. up from
                      school 15 times. HOD at 5, ¶ 29.




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                                  APPENDIX – IEP MEETINGS


          IEP Meeting on March 5, 2014 – Hearing Officer Decision at 6, ¶¶ 32–37
School Year       •   Kindergarten
Notable           •   A behavior specialist attended.
Attendance        •   D.H.’s speech/language therapist, occupational therapist, and physical
                      therapist did not attend.
Inputs            •   In February 2014, the school district enlisted a board certified behavior
Considered            analyst (BCBA) to revise D.H.’s behavior plan.
                  •   However, an FBA was not conducted.
Pertinent Plan    •   Behavior: Behavior plan was slightly revised in light of BCBA’s
Revisions             findings.
                  •   Unchanged: No provision for D.H.’s teachers to consult with the BCBA.
                  •   Unchanged: No provision for “targeted intensive toileting support.”
                      HOD at 6, ¶ 36.
Level of         •    Increased from the lowest-level “itinerant autistic support” to medium-
Autistic Support      level “supplemental autistic support.”
Incidents after •     Toileting: 6 accidents in a 10-day span in early April. HOD at 7, ¶ 41.
Meeting –       •     “Significant behavioral episodes” on April 4, 10, and 13. Id.
March and April •     Restraints: 2 seated restraints on March 7. The restraints were used
2014                  according to the October 2013 behavior plan, not the new March 2014
                      plan. And a restraint timer was used, in contravention of the plan. HOD
                      at 6, ¶ 39.




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                                   APPENDIX – IEP MEETINGS


                 IEP Meeting on April 16, 2014 – Hearing Officer Decision at 7
School Year         •   Kindergarten
Notable             •   No behavior specialist or BCBA attended.
Attendance
Inputs              •   No FBA was conducted.
Considered          •   IEP team found that D.H. had tantrums once per week and that his
                        behaviors had improved in the previous two weeks.
Pertinent Plan      •   Behavior Additions: Teaching D.H. to identify and communicate feelings.
Revisions           •   Behavior Additions: Teaching D.H. to use “gentle hands.”
                    •   Crisis Plan: An eight-step “crisis plan” was added to address D.H.’s
                        outbursts.
                    •   Toileting: A goal of no accidents for four weeks was added, with no
                        mention of how the goal would be reached.
                    •   Still no provision for D.H.’s teachers to consult with the BCBA.
                    •   Still no provision for FBA or other behavioral assessment.
                    •   Extended School Year (ESY): D.H. was deemed eligible for summer
                        school for 2014.
Level of         •      Increased from medium-level “supplemental autistic support” to the most
Autistic Support        intensive “full-time autistic support.”
                 •      D.H. would now spend five hours per day with a personal care assistant.
Incidents after     •   Multiple restraints on April 24, 2014 and May 16, 2014.
Meeting – April     •   Toileting accident followed by three seated restraints on June 2, 2014.
to June 2014            HOD at 7, ¶¶ 48–50.




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                                    APPENDIX – IEP MEETINGS


III.   First Grade (2014-2015)

          IEP Meeting on April 7, 2015 – Hearing Officer Decision at 9, ¶¶ 60–69
School Year       •   First Grade
Notable           •   No behavior specialist or BCBA attended. In fact, the school district’s
Attendance            new BCBA, hired in January 2015, did not learn about D.H. until October
                      2015.
                  •   D.H.’s speech/language therapist did not attend.
                  •   With D.H.’s mother’s consent, D.H.’s regular education teacher did not
                      attend.
Inputs            •   No FBA was conducted.
Considered        •   No BCBA met with D.H.
                  •   Without D.H.’s regular education teacher in attendance, the IEP Team
                      never heard her view any time in first grade.
Pertinent Plan    •   Speech/Language: In March 2015, the school district had found no
Revisions             progress on D.H.’s goal for communicating feelings and the
                      speech/language therapist did not attend the IEP meeting. Even so, the
                      IEP was revised to remove D.H. from speech/language services.
                  •   Behavior: A minor change to D.H.’s behavior plan was the elimination
                      of the “reinforcement item” of sticking a star on D.H.’s behavior chart.
                  •   Still no provision for FBA or other behavioral assessment.
                  •   Extended School Year: D.H. was deemed ineligible for summer school
                      for 2015. HOD at 10, ¶ 71.
Level of         •    Decreased two levels, from the most intensive “full-time autistic support”
Autistic Support      to the least intensive “itinerant autistic support.”
Incidents after   •   Restraints: A seated restraint was used on May 24, 2015.
Meeting – April   •   Toileting: D.H. had toileting accidents on April 17, April 23, and May 4,
to May 2015           2015.




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                                 APPENDIX – IEP MEETINGS


IV.    Second Grade (2015-2016)

   IEP Informal Meeting on October 2, 2015 – Hearing Officer Decision at 10, ¶¶ 76–78
School Year       •   Second Grade
Notable           •   D.H.’s autistic support teacher and the school principal attended.
Attendance        •   D.H.’s family members, including his mother, attended.
                  •   Even though the recent use of restraints was the reason for the meeting, no
                      behavior specialist or BCBA attended.
Inputs            •   Findings: At the beginning of second grade, the school had failed to staff
Considered            the five-hours-per-day personal care assistant, in contravention of the IEP.
Pertinent Plan    •   At parent’s request, D.H. received modified homework, access to a quiet
Revisions             workspace, and noise-cancelling headphones.
                  •   Behavior: Still no provision for FBA or other behavioral assessment. But
                      the school district’s BCBA began working with D.H. on October 15.
                  •   Behavior: D.H.’s original personal care assistant, back from a leave of
                      absence, was reassigned to D.H. at the family’s request on November 2.
Incidents after   •   Restraints: Restraints were used twice in October 2015.
Meeting –         •   Toileting: D.H. had 7 toileting accidents in October 2015.
October 2015      •   Aggression: D.H. had four incidents of aggressive behavior in October
                      and early November 2015.
                  •   Early Pick-Up: Family members were called to pick D.H. up from
                      school four times. See HOD at 11, ¶¶ 80–90.




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                                  APPENDIX – IEP MEETINGS


       IEP Meeting on November 6, 2015 – Hearing Officer Decision at 12, ¶¶ 91–99
School Year       •   Second Grade
Notable           •   The BCBA and the home-based team attended.
Attendance        •   The principal did not attend.
                  •   The speech/language, occupational, and physical therapists did not attend.
Inputs            •   The team agreed to conduct a “reinforce survey” to determine which
Considered            rewards work best to encourage good behavior in D.H.
Pertinent Plan    •   Behavior: The behavior plan was revised to respond to elopement.
Revisions             “Elopement” occurs when children with autism sometimes wander off.
                      The plan provided a response to elopement, not a strategy to prevent
                      elopement.
                  •   Still no provision for FBA or other behavioral assessment.
                  •   No addition of social skills support, even though the IEP team determined
                      that D.H. would be eligible for extended school year for social skills.
Level of         •    The level of autistic support was raised from “itinerant autistic support” to
Autistic Support      “supplemental autistic support.”
Incidents after   •   Restraints: A seated restraint was used on November 17, 2015.
Meeting –         •   Toileting: D.H. was restrained three times after a toileting accident on
November to           December 8, 2015. HOD at 12, ¶¶ 100–01.
December 2015




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                                 APPENDIX – IEP MEETINGS


      IEP Meeting on December 14, 2015 – Hearing Officer Decision at 13, ¶¶ 102–03
School Year       •   Second Grade
Notable           •   The BCBA attended.
Attendance        •   The regular education teacher did not attend.
Pertinent Plan    •   Behavior: The “crisis” portion of the behavior plan was revised. Staff
Revisions             members were instructed not to talk to D.H. when he was not behaving.
                  •   Toileting: If D.H. had an accident and would not change, then his family
                      would be called to change him and he would return to class.
Incidents after   •   D.H. was aggressive toward a staff member on December 15, 2015 and
Meeting –             was later suspended one day from school.
December 2015     •   D.H. was restrained after escaping a task on December 16 and his mother
                      was called to pick him up early.
                  •   D.H. was restrained twice and had a toileting accident on December 17
                      and was picked up early from school. HOD at 13, ¶¶ 104–06.

      IEP Meeting on December 22, 2015 – Hearing Officer Decision at 13, ¶¶ 107–09
School Year       •   Second Grade
Notable           •   The BCBA attended.
Attendance        •   The occupational and physical therapists did not attend.
Pertinent Plan    •   Behavior: The “crisis” portion of the behavior plan was revised to
Revisions             change the procedures for notifying D.H.’s parent.
Level of         •    The level of autistic support was raised from “supplemental autistic
Autistic Support      support” to “full-time autistic support.”
Incidents after   •   D.H. was aggressive toward a peer, had a toileting accident, and was
Meeting – Early       picked up early from school on January 22, 2016.
2016              •   D.H. refused to transition from recess to an academic task on January 27
                      and was allowed to escape the task, in contravention of his behavior plan.
                  •   Staff encouraged D.H. to use words during an outburst on January 28, in
                      contravention of the behavior plan, and D.H. became aggressive.
                  •   D.H. was aggressive and had a toileting accident on February 1 and 2,
                      2016.
                  •   D.H. had 9 more behavior incidents between February 8 and April 22,
                      2016. All told, he was picked up early from school 20 times in second
                      grade.




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                                APPENDIX – IEP MEETINGS


IEP Meetings on March 8 & April 14, 2016 – Hearing Officer Decision at 15–16, ¶¶ 127–29
School Year      •   Second Grade
Inputs           •   The recent reevaluation report.
Considered
Pertinent Plan   •   Behavior: The IEP team added antecedent strategies — that is, strategies
Revisions            to address behavior that precedes problem behavior.
                 •   Behavior: The plan was revised to include positive consequences for
                     replacement behavior (that is, good behavior that D.H. exhibits to replace
                     unwanted behavior).
                 •   Transfer to private school: The IEP team discussed transferring D.H. to
                     another school.




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